                       IN THE UNITED STATES DISTRICT COURT
              FOR THE SOUTHERN DISTRICT OF TEXAS, HOUSTON DIVISION



 UNITED STATES OF AMERICA, the                      )
 STATE OF TEXAS, the STATE OF                       )
 COLORADO, the STATE OF INDIANA, the                )
 STATE OF IOWA, the STATE OF                        )
 MINNESOTA, the STATE OF NEW                        )
 MEXICO, the STATE OF TENNESSEE, the                )
 STATE OF WASHINGTON, ex rel.                       )
 HICHEM CHIHI, 1,                                   )
                                                    )
             Plaintiff-Relator,                     )   Civil Action No. 4:18-cv-00123
                                                    )
             v.                                     )
                                                    )
 CATHOLIC HEALTH INITIATIVES; CHI-                  )
 ST LUKE’S HEALTH; and ALAN                         )
 HOFFMAN, M.D.;                                     )
                                                    )
                                  Defendant.        )
                                                    )


DEFENDANTS CATHOLIC HEALTH INITIATIVES AND CHI-ST. LUKE’S HEALTH
   UNOPPOSED MOTION FOR EXTENSION OF TIME TO ANSWER SECOND
                     AMENDED COMPLAINT

         Defendants CATHOLIC HEALTH INITIATIVES (“CHI”) and CHI-ST. LUKE’S

HEALTH (“St. Luke’s”, CHI and St. Luke’s collectively referred to as “CHI Defendants”), by

and through their counsel, POLSINELLI PC, file this Unopposed Motion to Extend Time to

Answer Relator’s Second Amended Complaint (“SAC”) and states as follows:

         1.        Relator’s SAC against CHI Defendants and the remaining Referring Physician

Defendant, Dr. Alan Hoffman, was filed on December 4, 2019 and entered on July 8, 2020. (Dkt.

No. 273). The SAC alleges violations of the Anti-Kickback Statute, the Stark Act, and the False

Claims Act.

         2.        The CHI Defendants filed a Motion to Dismiss the SAC on November 16, 2020.

(Dkt. Nos. 302).

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         3.    On July 8, 2020, the Court entered an Order granting in part and denying in part

CHI Defendants’ Motion to Dismiss, which dismissed thirty-five other previously named

Defendants, leaving only certain allegations against only the CHI Defendants and Dr. Hoffman.

(Dkt. No. 351).

         4.    As such, CHI Defendants’ deadline to answer the SAC is July 22, 2022.

         5.    Dr. Hoffman’s counsel filed a Motion for Extension of Time to Answer the SAC

that was unopposed by Relator’s counsel. (Dkt. No. 352). The SAC is comprised of 340

paragraphs spanning over 482 pages, including 12 exhibits. To ensure that the remaining three

Defendants are on the same pleading schedule, CHI Defendants request a one-week extension of

the pleading deadline for their Answer to the SAC, which will provide CHI Defendants additional

time to review and analyze the voluminous SAC and prepare an Answer.

         6.    CHI Defendants conferred with Relator’s counsel who indicated that she is

unopposed to such an extension.

         7.    Thus, CHI Defendants’ time to Answer the SAC would be extended to July 29,

2022.

         8.    This motion is brought in food faith in advance of CHI Defendants’ deadline to

answer and will not result in prejudice to any party.

         9.    This motion is accompanied with a proposed Order.

         WHEREFORE, Defendants, CATHOLIC HEALTH INITIATIVES (“CHI”) and CHI-

ST. LUKE’S HEALTH, respectfully requests that the Court grant this Unopposed Motion to

Extend Time to Answer the SAC and enter the proposed Order extending Defendant’s deadline to

answer until July 29, 2022.




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 Dated: July 21, 2022                            Respectfully submitted,

                                                 POLSINELLI PC

                                                 By: /s/ Andrew J. Ennis
                                                      Andrew J. Ennis
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                                                       ATTORNEYS FOR THE
                                                       CHI DEFENDANTS

                              CERTIFICATE OF CONFERENCE

         I hereby certify that counsel for Defendants has conferred in good faith with Ruth Brown,

counsel for Relator, and she is unopposed to the filing of this motion.

                                                /s/ Kevin M. Coffey
                                               Attorney for CHI Defendants

                                  CERTIFICATE OF SERVICE

         I hereby certify that on the 21st day of July 2022, a true and correct copy of the foregoing

was electronically served on counsel for all parties properly registered to receive notice via the

Court’s CM/ECF system.

                                                /s/ Kevin M. Coffey
                                               Attorney for CHI Defendants



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